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IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

KRISTINE L. HAMILTON,

Plaintiff,
vs. Civil Action No.
LIVANOVA DEUTSCHLAND GMBH (f/k/a COMPLAINT
SORIN GROUP DEUTSCHLAND Gl\/IBH) and JURY TRlAL DEMANDED

SORIN GROUP USA, INC.,

Defendants.

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Plaintiff, Kristine L. Harnilton, by Way of Complaint against Defendants, LivaNova

Deutschland GmbH and Sorin Group USA, Inc., alleges as follows:
JURISDICTION AND VENUE

l. This Conrt has subject matter jurisdiction over this action pursuant to the diverse
citizenship of the parties, 28 U.S.C. Sec. l332(a)(2). Plaintiff is a citizen and resident of the
State of Kansas. Defendant, LivaNova Deutschland GmbH, is a foreign corporation
headquartered in Mnnich, Germany. Defendant, Sorin Group USA, Inc., has a principal place of
business in Arvada, Colorado, and is incorporated in the State of Delaware.

2. Personal jurisdiction exists over Defendants, LivaNova Deutschland GmbH and
Sorin Group USA, lnc., in the U.S. and in Kansas due to the general and specific contacts they
maintain Det`endants maintain those contacts presently and did so at all times material to this
action The amount in controversy exceeds 375,000.00.

3. Venue is proper in this District pursuant to 28 U.S.C. Sec. 1391, as a substantial

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part of the events and/or omissions giving rise to the Plaintiff s ciaims emanated frorn activities
Within the jurisdiction, and Defendants conduct substantial business Within this jurisdiction
THE PARTIES

4. Piaintiff Kristine L. Harnilton is an adult individual and citizen of the State of
Kansas, residing in Butler County, Kansas.

5. Defendant, LivaNova Deutschland GmbH (forrnerly known as Sorin Group
Deutschland Gran) (“Sorin”) is a foreign for-profit corporation headquartered in Munich,
Gennany. Sorin designed, manufactured and marketed the Sorin 3T Heater-Cooler Systern.

6. Defendant, Sorin Group USA, lnc. (“Sorin USA”) is a U.S. designer,
manufacturer, marketer and distributor of the Sorin BT Heater~Cooier Systern, With a principal
place of business in Arvada, Colorado.

GENERAL FAC'I`UAL ALLEGATI()NS

7. The bacterium at issue, Mycobacrerium Chimaera, is a subspecies of
Nontuberculous l\/.[ycobacteriurn (“NTM”) that occurs naturally in the environment and rarely
causes iilness. Hovvever, M. Chz'maera poses a unique risk to patients Whose organs and chest
cavities are directly exposed to the bacteria during surgery.

8. Because M. Chimaem is a slow growing bacteriurn, it generally takes anywhere
from several months to six years before manifestation of an M Chimaera infection, Which most
commonly results in a heart infection known as endocarditis or disseminated infection spread
throughout the body.

9. Symptoms ofM. Chimaem infection are non-specific and may include any of the

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following: persistent fever, night sweats, joint and muscle pain, unexplained Weight loss and
fatigue.

iO. The diagnosis of an M. Chimaer'a infection requires targeted culturing and/or
molecular diagnostic testing, the results of Which take at least six to eight Weeks.

li. The Sorin 3T Heater-Cooler Systerns (“3 T”) used at The University of Kansas
Hospital in 2016 Were designed, manufactured, marketed and/or sold by Defendants, Sorin and
Sorin USA.

12. The 3T regulates blood temperature by circulating Water through tubes into a heat
exchanger Where blood is pumped into separate chambers during snrgery. The Water tanks and
other areas Where Water pass through aerosolize a vapor containing NTM Which exits out of the
device and is pushed into the ambient air of the operating room through the Systern’s exhaust
fan. lf placed in the operating room, the contaminated vapor from the 3T directly enters the
sterile surgical field and the patient’s open body.

l3. Published articles dating back to the 1980s confirm that N'l`l\/l is commonly found
in Water and has a high propensity to become airborne (aerosolize) through natural processesl

14. The potential for contaminated Water from heater-cooler devices to infect patients

intra~operatively Was recognized by the medical and scientific community as early as Novernber

 

lSee eg., Wendt, er al., Epidemiology of lnfection by Nontuberculous Mycobacteria, III.
isolation of Potentially Pathogenic Mycobacteria from Aerosols, Arnerican Review of
Respiratory Disease, 1980 (“Field experiments have confirmed the existence of a natural
mechanism for the transfer of significant numbers of mycobacteria frorn Water to air.”);
Falkinham, Mycobacterial Aerosols and Respiratory Disease, Emerging Infectious Diseases, July
2003 (“Environmental opportunistic Mycobacteria are present in drinking Water, resistant to
disinfection, able to provoke inflammatory reactions, and readily aerosolized.”)

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2002?

15. lnvasive cardiovascular infections identified as NTM have been reported in
Switzerland, Germany and the Netherlands since 2011.3

16. A public health investigation in Switzerland following six patient infections since
2011 included microbiological examinations of environmental samples that identified M.
Chi`maera contamination in heater~cooler units, including Water samples from inside the units.
Sarnples of the ambient air were positive for M. Chimaem when the units were running, but
negative when they were turned off.4

l7. ln April 2011, the United States Food and Drug Administration (“FDA”) visited
Defendant Sorin, in Munich, Gerrnany, for a plant inspection and to discuss safety concerns with
several products, including the 3T approved in 2005 through the 5 l 0(k) process The FDA
advised the company that its 3"l`s harbored dangerous bacteria and that it had failed to make a

proper risk assessment for cleaning the devices to avoid bacterial infections in patients exposed

 

2See The Heater-Cooler Unit-A Conceivable Source of lnfection, Weitkemper, et al., The
lournal of the American Society of Extra-Corporeal Technology, 2002.

3ECDC Rapid Risk Assessment, lnvasive Cardiovascular infection by l\/[ycobacteriurn
Chimaera Potentially Associated with Heater-Cooler Units Used During Cardiac Surgery, April

30, 2015, available online at h§p://ecdc.europa.eu/en/publications/l’ublications/mycobacterium~

chimaera-infection~associated~with-heater-cooler-units-ra id-risk-assessment-30-A ril-2015. df

 

(last accessed August 21, 20i7).

4Subsequent studies have further confirmed that the 3T aerosolizes M. Chi`maera when
powered on. See e.g. , Lyman, er al. lnvasive Nontuberculous l\/lycobacterial lnfections Arnong
Cardiothoracic Surgical Patients Exposed to Heater-Cooler Devices, Ernerging lnfectious
Diseases7 May 2017; Gotting, et al., Heater-Cooler Units: Contamination of Crucial Devices in
Cardiothoracic Surgery, Journal of Hospital lnfection, Febmary 2016; Sommerstein, er al. ,
Transrnission of Mycobacferi`um Chimaem from Heater-Cooler Units during Cardiac Surgery
Despite an Ultraciean Air Ventilation Systern, Emerging lnfectious Diseases, Jnne 2016.

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in the operating room
18. Defendants conceded to the FDA that this particular patient risk was c‘not
considered” because it was “not of concern.”
l9. During this inspection, the FDA advised the company that the bacterial growth
charts it used to justify the original instruction for device disinfection every 14 days allowed
bacterial overgrowth well in excess of safe standards in just one and a half days. The company
admitted to the FDA that its cleaning instructions did not meet these standards and that it had no
information to support the cleaning methods it disseminated to U.S. purchasers
20. More than four years later, on July 15, 20l5, Defendants issued a Class 2 Recall
of the 3T’s instructions for use (“lFU”) because of “[p]otential colonization of organisms,
including l\/lycobacteria, iii Sorin Heater-Cooler Devices, if proper disinfection and maintenance
is not performed per instructions for use.”
21. The recall directed customers to follow the new cleaning and disinfection
procedures outlined iii a Field Safety Notice issued by Defendants on June l§, 20 l 5.
22. According to this Field Safety Notice, the company’s hygiene concept was
“enhanced”5 by introducing the following modifications:
a) Use filtered tap water when filling the device;
b) To make disinfectiori easier, switch from three different cleaning
procedures (every five days, every two weeks and every three

months), to just two (every seven days and every fourteen days);

 

5A month prior to the recall, in May 2015, Defendants informed customers that devices
that had not been maintained according to the manufacturers’ lFUs required a mechanical deep
disinfection process to remove bacterial colonization, referred to as “biotilm”.

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c) The option to use peracetic acid instead of Clorox for disinfection;

d) Use hydrogen peroxide in low dose for device preservation;

e) lnclude all external tubing, bottles and buckets in the disinfection
process ;

f) Change to polyethylene tubing that meets national drinking water
standards; and

g) Unused heater~coolers should be disinfected bi-weekly.

23. Upon information and belief, Defendants knew or should have known that design
and/or manufacturing defects in its 31` render it prone to bacterial colonization and transmission,
regardless ofthe cleaning and disinjection procedures used6

24. Manufacturing and User Facility Device Experience (“MAUDE”) reports, such as
one reported to the FDA on .iuly 7, 2016, evidence that even mechanical deep disinfection
followed by the use of filtered water, new water hoses, and three cycles of Defendants’ new

cleaning procedures fail to eliminate high bacteria counts in the 3T.7

 

6,S`ee e. g., Garvey er al_, Decontamination of Heater-Cooler Units Associated with
Contarnination by Atypical Mycobacteria, lournal of Hosp. Infection, l\/larch 2016 (tinding that
Defendants’ decontamination protocol was inadequate and that removal of internal tubing was
required to achieve water quality iii 3Ts); Marra, et al , Mycobacterium Chimaera Infections
Associated with Contaminated Heater»Cooler Devices for Cardiac Surgery: Outbreak
l\/lanagement, Clinical lnfectious l)iseases, April 19, 2017 (“Despite adherence to these
[manufacturer] recommendations for use of sterile or filtered water, and regular water circuit
disinfection and tubing changes, M Chi'maera contamination will persist...investigators using far
more intensive attempts at disinfection have been unable to eradicate M. Chz`maera from 3T
HCDs.”) (internal citations omitted).

7See also, ECDC Rapid Risk Assessment, supra (“ln Switzerland, cleaning and
decontamination of the heater~cooler units was followed by recontamination. A new heater~
cooler unit that initially tested negative for M. Chi`maera at the hospital tested positive three
months after purchase and installation.”)

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25. The risk ofN'l`l\/l transmission with the 3T is not unique in Kansas hospitals,
including The University of Kansas Hospital, Kansas City, Kansas. ln October and November
2015, two Pennsylvania hospitals notified approximately 3,600 patients of their exposure to
NTM through use of the 3T. On September 20, 2016, a third Pennsylvania hospital, Penn
Presbyterian l\/ledical Center in Philadelphia, announced patient infections linked to the 3T.

26. To date, there have been at least 21 confirmed NTM infections in Pennsylvania
which have resulted in five deaths.

27. Hospitals in at least 14 other U.S. states have reported patient infections and/or
device contamination with NTM. Foi' example, in l\/lay 20l6, Swedish l\/ledical Center in Seattle,
Washington, issued letters notifying certain cardiac bypass patients that it had tested and found
N'l`l\/l in several of its 3Ts.

28. On October 21, 2015, following the first N'l`l\/l outbreak in Pennsylvania, the U.S.
Centers for Disease Control and Prevention (“CDC”) issued an lnterim Practical Guidance
communication to raise awareness among health departments, healthcare facilities and providers
of the association between NTl\/l infections and the use of heater-cooler devices

29. On December 29, 2015, the FDA sent Defendants a warning letter advising that
3Ts were subject to refusal of admission into the U.S. until they resolved several FDA violations,
including the FDA’s determination that the 3Ts were adulterated3 and misbranded and lacked

requisite safety validation for several design changes to both the device itself as well as a series

 

8Under the Federal Food, Drug and Cosmetic Act, a medical device is “adulterated” if the
methods used in, or the facilities or controls used for their manufacture, packing, storage or
installation are not in conformity with current good manufacturing practice requirements of the
Quality System regulation

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of revised disinfection instructions The FDA’s findings were based on its inspections of the
company’s l\/lunchen, Germany, and Arvada, Colorado production facilities

30. ln the letter, the FDA identified various design change orders dating back to
l)ecember ll, 20l2, which had never been documented, validated and/or submitted to the FDA
for approval

31. The letter also identified several changes to the disinfection instructions dating
back to December 20, 201 l, which had never been reported to the FDA and which, like the
current disinfection instructions lacked proper efficacy validation

32. ln April 2016, a Euro Surveillance study following environmental investigations
conducted between luly 2014 and June 2015 determined that certain 3Ts manufactured at
Defendants’ l\/lunich, Gerrnany production facility were contaminated with NTl\/l on the
production line or elsewhere at Defendants’ manufacturing facility.

33. A June l, 2016, FDA Safety Comniunication following the Euro Surveillance
findings noted that “this paper suggests a direct link between the M. Chimaera to which
European patients were exposed and became infected during open~chest cardiac surgery, and one
specific heater-cooler model-the B'l`.” The FDA cautioned U.S. purchasers of the 3T that if they
purchased their units before September 2014, they may have been shipped from Defendants’
factory contaminated with M. Chz`maera.9

34. ln lone 2016, a study published in the Journal of Ernerging lnfectious Diseases

confirmed the airborne transmission of NTM via 3l`s due to the ability of the 3'l"s exhaust fan to

 

9lune 1, 2016, FDA Safety Communication, available at http://wayback.archive-
it.org/7993/20171 l l 50522 l2/https://www.fda. gov/MedicalDevices/Safetv/AlertsandNotices/ucm
5042l3.htm (last accessed April 2, 20l 8) (archived and updated October l3, 2016).

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disrupt the ultraclean air ventilation systems of operating rooms According to the study,
aerosolization from the 3T carried M. Chimaera particles a distance of up to five meters from the
device.

35. On lane 2-3, 2016, the FDA hosted a Circulatory System Devices Panel for the
Medical Devices Advisory Cornrnittee to address the public health risk posed by heater-cooler
devices, and in particular, the 3T.

36. During this Panel, the FDA noted that nearly 90% of the Medical Device Reports
(“MDR”) it received between January 2010 and February 2016 citing device contamination and
patient infection were attributed to the 3T.

37. During this Panel, Defendants’ representatives admitted that the company was in
the process of retrotitting existing 3Ts with new design features, including, but not limited to,
changing tubing materials from PVC to polyethylene to limit biofilrn formation and the
introduction of plugs in the water circuit to prevent sitting water.

38. On October l3, 2016, the CDC released the results of genome sequencing studies,
confirming that patient infections in Pennsylvania and Iowa were directly linked to Defendants’

Munich, Germany, manufacturing site.10

 

IOSee CDC l\/lorbidity and Mortality Weel<ly Report for October 14, 2016, available
online at https://www.cdc.aov/mmwr/volumes/G§/Wr/mrnG540a6.htrn?s cid=mrn6540a6 w (last
accessed April 3, 2018). Multiple studies have since linked the same strain of M. Chimaem to
patient infections following use of the 3T in geographically sequestered locations such as
Australia, Canada, France, Germany, Hong Kong, lreland, the Netherlands, Spain and
Switzerland. See e.g., Svensson, et al., Mycobacrerium chimaera in heater-cooler units in
Denrnarl< related to isolates from the United States and United Kingdorn, Emerg lnfect Dis.,
March 2017, available online at https://www.nc.cdc.gov/eid/article/23/3/ 16-1941_article (last
accessed April 3, 2018); sea also Wall<er, et al., l\/licrobiological Problerns and Biofilms
Associated with Mycobacterium Chimaem in Heater~Cooler Units Used for Cardiopulmonary
Bypass, Journal of Hospital lnfection, April 26, 2017 (collecting data of global M. Chz'maera

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39. That same day, the FDA issued an updated Safety Communication instructing
hospitals throughout the country to consider transitioning away from 3Ts manufactured before
Septernber 2014 due to evidence of “point source contamination at the production site”.ll

40. Subsequent studies published in 2017 further confirm “an ongoing international
outbreak of M. Chimaera infection following cardiac surgery” and that “all M Chl'maera
infections have been attributed to a specific make/model of HCU (Sorin 3T, LivaNova PLC,
formerly Sorin Group Deutschland Gmbl~l)”.12

FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF KRISTINE HAMILT{)N

41. ln the spring of 2017, Kristine Hamilton, then 52 years of age, experienced flu
like symptoms, including a fever. Blood cultures were positive for streptococcus sanguinis.

42. Plaintiff Hamilton was admitted to Via Christi l\/ledical Center in Wichita,
Kansas, where she Was diagnosed with aortic valve endocarditis. On April l4, 2017, Plaintiff
Kristine Hamilton was transferred to Kansas University Hospital in Kansas City, Kansas, where

on April l8, 2017, she underwent complex open heart surgery and placement of a permanent

pacemaker. Jeffrey Kramer, MD was the lead cardiothoracic surgeon. Bypass time was 212

 

infections).

llSee October 13, 2016 “UPDATE: l\/lycobacterium Chimaera infections Associated with
LivaNova PLC (formerly Sorin Group Deutschland GmbH) Stockert 3T Heater~Cooler System:
FDA Safety Comrnunication”, available online at

http://www.fda.gov/MedicalDevices/Safety/AlertsandNotices/ucm$2019 l .htm (last accessed
April 3 , 2018).

leee e.g., Walker, et al., supra; Lyman, et al., Supra (detailing a Pennsylvania field
investigation which “confirrned a prolonged outbreak of invasive MAC infections associated
with cardiac surgery requiring cardiopulmonary bypass with exposure to 3'f HCDs, similar to
reports from Europe.”)

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minutes Anesthesia started at 08:02 and stopped at 17:20. A Sorin 3T Heater~Cooler Systern
was used during this surgery

43. Post-operatively, Kristine Hamilton initially did well; was discharged on April
28, 2017; but then had abnormal echocardiogram, prompting her being re~adrnitted to Kansas
University Hospital in early lane of 2017.

44. On June 8, 2017, Kristine Hamilton underwent a reoperative sternotomy, a redo
aortic root replacement and coronary artery bypass Mycobacterium chimaera was cultured from
her valve leaflets.

45. Plaintiff Kristine Hamilton has undergone extensive antibiotic therapies to treat
the mycobacterium infection and has endured continued pain, suffering and a chronic disease
state.

46. Plaintiff Kristine Hamilton’s care and treatment is coordinated among her
physicians in Wichita, Kansas, those at Kansas University Hospital and National Jewish Health
in Denver, Colorado.

47. in addition to active treatment, Kristine Harnilton has been and continues to be
monitored for dissemination of the disease and complications, such as hearing impairment and
optic neuritis, iatrogenic sequelae of the needed therapies.

48. As a direct and proximate result of Defendants’ negligence and liability producing
conduct as described herein, Kristine Hamilton acquired an M Chimaem infection, forcing her to
undergo painful medical procedures and treatment, including but not limited to an additional
open heart surgery, antibiotic therapy, routine echocardio grams and additional testing

49. As a direct and proximate result of Defendants’ negligence and liability producing

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conduct as described herein, Plaintiff Kristine Hamilton expended various sums of rnoney for
medical care and treatment and ancillary travel costs.

5 0. As a direct and proximate result of Defendants’ negligence and liability producing
conduct as described herein, Plaintiff Kristine Hamilton suffered and continues to suffer from
excruciating and agonizing physical and emotional pain.

51. Plaintiff Kristine Hamilton was in no Way responsible for her injuries

COUNT I
Negligence-Design Defect

52. Plaintiff incorporates by reference the preceding paragraphs as if fully set forth
herein.

53. The 3T is a product within the meaning of Kansas products liability iaw.

54. 'l`he 3T was expected to reach, and did reach, users and/or consumers, including
Plaintiff Kristine Hamilton without substantial change in the defective and unreasonably
dangerous condition in which it was sold or distributedl

55. Under Kansas products liability law, Defendants Sorin and Sorin USA owed
Plaintiff a duty to exercise reasonable care in designing and testing the 3T.

56. Defendants, Sorin and Sorin USA, designed the 3T for the purpose of heating and

cooling patient blood during major heart, lung and liver surgeries

57. At all times material, the 3'f was used in a manner intended and/or foreseeable to
the Defendants
58. A patient or consumer using the B'l` would reasonably expect the device to be free

of significant defects.

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59. The 3T, as designed by Defendants, colonizes bacteria, including M Chimaera.

60. The 3T, as designed by the Defendants, directly transmits bacteria, including M.
Chz`maera, to patients during invasive surgery.

61. The foreseeable risks of using the 3T, particularly severe bacterial infection and/or
death, significantly outweigh the benefits conferred upon patients using the 3T.

62. Reasonable alternative designs existed for the 3T which would have eliminated or
reduced the risk of bacterial colonization and/or transmission of such bacteria to patients
undergoing invasive surgical procedures

63. Reasonable and feasible alternative designs include, but are not limited to,
measures to direct airflow away from the surgical filed (i.e., a housing unit for the exhaust vent)J
reducing the force at which air is vented from the System to a rate of less than l,000 cubic feet
per minute, water reservoir isolation by using closed loop fluid management, an open water
design to prevent inaccessible airspace, removable lids and parts for easy disinfection, disposable
tank liners to prevent biofilm formation, and internal pasteurization or UV features to kill
bacteria.

64. The failure to use feasible, reasonable alternative designs that eliminate bacterial
colonization and the aerosolization of bacteria into the ambient air of operating rooms renders the
3T unreasonably unsafe

65. Defendants knew or should have known that NTl\/l, or other harmful bacteria,
could colonize within the 3T and be spread to patients during surgery through the exhaust vent.

66. Plaintiff Kristine Harnilton’s M. Chz`maem infection was caused by Defendants’

conduct as follows:

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a) Failing to conduct adequate safety and efficacy testing before placing
the 3"l` into the stream of commerce;

b) Failing to timely establish procedures for reviewing the design of the
3T after receiving information that patients were developing the
bacterial infections as a result of surgeries using the BT;

c) Failing to timely establish procedures for validation or, where
appropriateJ review and approval of design change orders for the 3T
before their implementation as required under 2l CFR 820.30(i); and

d) Failing to design or redesign the 3'1` to eliminate or mitigate
bacterial colonization and/or transmission of such bacteria.

67. Plaintiff Kristine Hamilton was proximately harmed by the design defects in the
3'l` as described above.

WHEREFORE, Plaintiff Kristine Hamilton demands judgment against Defendants,
individually, jointly, vicariously, severally, and/or in the alternative, for such damages as may be
permitted pursuant to the laws of the State of Kansas, together with interest thereon, costs of suit
and attorneys’ fees.

C{)UNT ll
Strict Liability-Manufacturing Defect

68. Plaintiff incorporates by reference the preceding paragraphs as if fully set forth
herein.
69. The 3T is a product within the meaning of Kansas products liability law.

70. The 3T was expected to reach, and did reach, users and/or consumers, including

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Plaintiff Kristine Harnilton without substantial change in the defective and unreasonably
dangerous condition in which it was sold or distributed
71. Defendants Sorin and Sorin USA manufactured the 3T for the purpose of heating

and cooling patient blood during major heart, lung and liver surgeries.

72. At all times material, the 3'l` was used in a manner intended and/ or foreseeable to
the Defendants
73. A reasonable patient or consumer of the 3T would expect that the device be free

of significant defects
74. The 3'1`, as manufactured by the Defendants, colonizes bacteria, including M
Chfmaem.
75. The 3T, as manufactured by the Defendants, directly transmits bacteria, including
M Chimaera, to patients during invasive surgery.
76. The foreseeable risks of using the 3T, particularly severe bacterial infection and/ or
death, significantly outweigh the benefits conferred upon patients using the 3T.
77. Plaintiff Kristine Hainilton’s M. Chimaera infection was caused by Defendants’
conduct as foilows:
a) Failing to timely establish procedures or practices to prevent the 3T
from being contaminated with NTl\/l on the production line or elsewhere
at Defendants’ production facilities;
b) Manufacturing and selling the 3T with NTl\/l contamination that
occurred on the production line or elsewhere at Defendants’ production

facilities; and

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c) Failing to ensure proper workmanship, materials and labeling for the 3'l`_

78. Plaintiff Kristine Hamilton was proximately banned by the manufacturing
defects in the 3T as described above.

WHEREFORE, Plaintiff Kristine Hamilton demands judgment against Defendants,
individually, jointly, vicariously, severally, and/or in the alternativeJ for such damages as may be
permitted pursuant to the laws of the State of Kansas, together with interest thereon, costs of suit
and attorneys’ fees.

C{)UNT III
Negligence-Warning Defects

79. Plaintiff incorporates by reference the preceding paragraphs as if fully set forth
herein

80. The 3T is a product within the meaning of Kansas products liability law.

8 l. The 3T was expected to reach, and did reach, users and/ or consumers, including
Plaintiff Kristine llamilton without substantial change in the defective and unreasonably
dangerous condition in which it Was sold or distributed

82. Defendants Sorin and Sorin USA owed Plaintiff Kristine l-lamilton a duty to
exercise reasonable care in marketing, advertising, promoting, distributing and/or selling the 3T.

83. Defendants Sorin and Sorin USA marketed, advertised and promoted the 3'l` for

the purpose of heating and cooling patient blood during major heart, lung and liver surgeries

84. At all times material, the ?)l` was used in a manner intended and/or foreseeable to
the Defendants
85. A reasonable patient or consumer of the 3T would expect that the device be free

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of significant defects

86. The 3'l` colonizes bacteria, including M. Chimaera, and directly transmits such
bacteria to patients during invasive surgery.

87. Defendants knew or should have known that NTl\/l, or other harmful bacteria,
could colonize within the 3T and be spread to patients during surgery through the exhaust vent.

88. The foreseeable risks of using the 3T, particularly severe bacterial infection and/or
death, significantly outweigh the benefits conferred upon patients using the 3'l`.

89. Plaintiff Kristine Hamilton’s M Chz`muem infection was caused by Defendants’

conduct as follows:

a) Failing to provide proper cleaning and disinfection procedures for
the 3T;
b) F ailing to conduct proper validation studies to demonstrate the safety

and efficacy of cleaning and disinfection procedures for the 3T;

c) Failing to warn patients like Kristine Hamilton and/or purchasers of
the 3T that the device colonized bacteria and unnecessarily transmitted
it into the ambient air of operating rooms; and

d) F ailing to timely notify known purchasers of the 3T that patients could
be exposed to NTl\/l.

90. Plaintiff Kristine Hamilton was proximately harmed by the warnings defects in
the 3"1` as described above.
WHEREFORE, Plaintiff Kristine Hamilton demands judgment against Defendants,

individually, jointly, vicariouslyJ severally, and/or in the altemative, for such damages as may be

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permitted pursuant to the laws of the State of Kansas, together with interest thereon, costs of suit
and attorneys’ fees.

COUNT IV
Loss of Snousal Consortiunl

91. Piaintiff incorporates by reference the preceding paragraphs as if fully set forth
herein.

92. Plaintiff Kristine Hamilton and Rohn Hamilton are husband and wife. As a
result of the aforesaid injuries sustained by Kristine Harnilton, Rohn Hamilton has been and will
continue to be deprived of the care, companionship, services and consortium of his wife.

93. l’ursuant to K.S.A. 23~2605, these losses vest in Plaintiff Kristine Harnilton
for the benefit of Rohn Hamilton.

WHEREFORE, Plaintiff Kristine Hamilton demands judgment against Defendants,
individually, jointly, vicariously, severally, and/ or in the alternative, for such damages as may be
permitted pursuant to the laws of the State of Kansas, together with interest thereon, costs of suit

and attorneys’ fees.

PRAYER FOR RELIEF
Plaintiff Kristine Hamilton requests the Court to enter judgment against the Defendants
as follows:
A. An award to Plaintiff of compensatory and punitive damages, costs and
reasonable attorneys’ fees, as permitted by law;

B. An award of post-judgment interest, as provided by law;

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C.

D.

Leave to amend this Complaint to conform to the evidence produced at

F or such other relief as may be appropriate under the circumstances

JURY TRIAL DEMANDED

Plaintiff demands a trial by jury on all issues so triable.

Dated: April 4, 2018

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Respectfully submitted,

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/s/ Andrew W. Hutton

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